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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                           CHARLESTON DIVISION


 BERKELEY COUNTY SCHOOL                                          2:18-cr-151
 BOARD OF TRUSTEES,

              Plaintiff,
                                                        DEFENDANT STANLEY J.
 v.                                                   POKORNEY’S RESPONSE AND
                                                           CONSENT TO HUB
                                                       DEFENDANTS’ MOTION TO
 HUB INTERNATIONAL LIMITED,                                ENLARGE FOR ALL
 HUB INTERNATIONAL MIDWEST LIMITED,                   DEFENDANTS THE TIME FOR
 HUB INTERNATIONAL SOUTHEAST,                         FILING AN ANSWER OR RULE
 KNAUFF INSURANCE AGENCY, INC.,                               12 MOTION
 STANLEY J. POKORNEY,
 SCOTT POKORNEY, and
 BRANTLEY THOMAS,

              Defendants.




       Defendant Stanley J. Pokorney, by and through his undersigned counsel, hereby

files this Response and Consent to the Motion by Defendants HUB International Limited

and HUB International Midwest Limited to Enlarge for all Defendants the Time for Filing

an Answer or Rule 12 Motion (ECF Doc. No. 26) and incorporates the arguments made

therein. For the reasons set forth in the HUB Defendants’ Motion, Defendant Stanley J.

Pokorney respectfully requests that the Court extend the date by which each Defendant,

including Stanley J. Pokorney, is to file an answer or motion under FRCP Rule 12 until

fourteen (14) days after the Court rules on the pending Arbitration Motion.

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                               Respectfully Submitted,



                               S/Deborah B. Barbier
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                               ATTORNEY FOR STANLEY J. POKORNEY




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